      Case 7:20-cv-01140-CLM-JHE Document 7 Filed 11/09/20 Page 1 of 2                      FILED
                                                                                   2020 Nov-09 PM 01:20
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

 BONNIE STRICKLAND,                           )
                                              )
       Petitioner,                            )
                                              )
 v.                                           )   Case No.: 7:20-cv-01140-CLM-JHE
                                              )
 FEDERAL BUREAU OF PRISONS, et                )
 al.,                                         )
                                              )
       Respondents.

                           MEMORANDUM OPINION

      On October 2, 2020, the magistrate judge entered a Report and

Recommendation, (doc. 6), recommending that the petition for writ of habeas corpus

be dismissed with prejudice.      No objections have been filed.       The court has

considered the entire file in this action, together with the report and recommendation,

and has reached an independent conclusion that the report and recommendation is

due to be adopted and approved.

      Accordingly, the court hereby adopts and approves the findings and

recommendation of the magistrate judge as the findings and conclusions of this

court. The petition for writ of habeas corpus is due to be DISMISSED. A separate

Order will be entered.
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DONE this November 9, 2020.



                          _________________________________
                          COREY L. MAZE
                          UNITED STATES DISTRICT JUDGE




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